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                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DISTRICT

                                                      Case No. 1:16-cv-04142
IN RE: STERICYCLE, INC., STERI-SAFE                   Case No. 1:13-cv-05795
CONTRACT LITIGATION


SURGICAL SPECIALISTS OF ALABAMA,
P.C. and INTERNAL MEDICINE                            MDL No. 2455
ASSOCIATES OF ALABAMA, P.C., on behalf
of themselves and all putative class members,         Judge Milton I. Shadur
                    Plaintiffs,
v.

STERICYCLE, INC. and STERICYCLE
SPECIALTY WASTE SOLUTIONS, INC.,

                    Defendant.



     DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFFS
     SURGICAL SPECIALISTS OF ALABAMA, P.C. AND INTERNAL MEDICINE
        ASSOCIATES OF ALABAMA, P.C.’S, CLASS ACTION COMPLAINT

        Stericycle, Inc. (“Stericycle”) and Stericycle Specialty Waste Solutions, Inc. (“SSWSI”)

(collectively “Stericycle” or “Defendants”) by and through their counsel, hereby answers

Plaintiffs’ Complaint (“the Complaint”) as follows:

                                         INTRODUCTION

        1.          The Complaint is brought individually and on behalf of a class of Alabama

Stericycle Customers for violation of Alabama’s Deceptive Trade Practices Act (the “ADTPA”),

codified at ALA. CODE § 8-19-1, et seq., breach of contract, and unjust enrichment. The

ADTPA was created because “[t]he public health, welfare and interest require a strong and

effective consumer protection program to protect the interest of both the consuming public and

the legitimate businessperson.” ALA. CODE § 8-19-2.




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        ANSWER TO NO. 1: Stericycle admits that Plaintiffs bring this action to seek judicial

relief from Defendants and purport to bring this action as a class action on behalf of similarly

situated customers in Alabama. The last sentence in paragraph 1 contains a legal conclusion to

which no response is required; to the extent a response is required, Stericycle denies these

allegations and the remaining allegations in paragraph 1.

        2.          Among other provisions, the ADTPA makes unlawful deceptive acts or practices

in the conduct of any trade or commerce, including “[e]ngaging in any other unconscionable,

false, misleading, or deceptive act or practice in the conduct of trade or commerce.” ALA.

CODE § 8-19-5(27).

        ANSWER TO NO. 2: Paragraph 2 contains a legal conclusion to which no response is

required; to the extent a response is required, Stericycle denies the allegations in paragraph 2.

        3.          Stericycle’s acts and practices in dealing with the Plaintiffs and the members of

the putative class are the epitome of unconscionable, false, misleading, and deceptive. Among

other practices, Stericycle enters into long-term “fixed rate” contracts with its Alabama

customers which it claims will control costs and only be adjusted for a very limited number of

reasons such as regulatory changes imposing additional costs, only to arbitrarily charge their

customers more and more through automated prices increases completely without any

justification of any kind. When customers discover these issues and protest and/or cancel their

service, they are punished with liquidated damages provisions in their contracts and a series of

contractual tenuis that are unreasonably favorable to Stericycle and are oppressive, one-sided,

and patently unfair, terms that are only possible because of the unequal bargaining power among

the parties aid the lack of meaningful choice in the regulated medical waste industry.

        ANSWER TO NO. 3: Stericycle denies the allegations in paragraph 3.




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        4.          The Plaintiffs served written notice on Stericycle pursuant to the ADTPA of

Stericycle’s unlawful practices and their injuries. Stericycle has not responded.

        ANSWER TO NO. 4: Stericycle denies the allegations in paragraph 4.

                                               PARTIES

        5.          Surgical Specialists is an Alabama professional corporation with its principal

place of business in Tuscaloosa County, Alabama. It provides general surgical services that

include office based care and procedures, outpatient procedures, as well as inpatient procedures

and care. Surgical Specialists has to dispose of medical waste collected in the course of treating

its patients.

        ANSWER TO NO. 5:              Stericycle admits that Surgical Specialists is an Alabama

corporation with its principal place of business in Tuscaloosa County, Alabama, and admits that

Surgical Specialists generates medical waste in the course of treating its patients. Stericycle

denies the remaining allegations in paragraph 5 based on lack of knowledge or information

sufficient to form a belief as to the truth or falsity thereof.

        6.          Internal Medicine Associates is an Alabama professional corporation with its

principal place of business in Tuscaloosa County, Alabama. Its physicians provide healthcare to

its patients to treat and prevent adult illnesses. Internal Medicine Associates likewise has to

dispose of medical waste collected in the course of treating its patients.

        ANSWER TO NO. 6: Stericycle admits that Internal Medicine Associates is an Alabama

corporation with its principal place of business in Tuscaloosa County, Alabama, and admits that

Internal Medicine Associates generates medical waste in the course of treating its patients.

Stericycle denies the remaining allegations in paragraph 6 based on lack of knowledge or

information sufficient to form a belief as to the truth or falsity thereof.




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        7.          Stericycle, Inc. is a Delaware corporation with a principal place of business

located at 28161 North Keith Drive, Lake Forest, Illinois. Its registered agent in Alabama is CT

Corporation System, 2 North Jackson St., Suite 605, Montgomery, AL 36104.

        ANSWER TO NO. 7: Stericycle admits the allegations in paragraph 7.

        8.          Stericycle Specialty Waste Solutions, Inc. is a Delaware corporation with a

principal place of business located at 28161 North Keith Drive, Lake Forest, Illinois. Its

registered agent in Alabama is CT Corporation System, 2 North Jackson St., Suite 605,

Montgomery, AL 36104.

        ANSWER TO NO. 8: Stericycle admits the allegations in paragraph 8.

        9.          Stericycle describes itself as a “global business-to-business solutions provider.”

Its customers’ industries are “healthcare, pharmacies & retail, biotech, manufacturing,

professional services, governments.” Its “[c]ontracts generally include pass through price

increase provisions” and it focuses on small customers because “[s]mall account customers

generate gross margins higher than large account customers” and “[s]mall account customers are

more likely to outsource and are easier to up-sell.”

        ANSWER TO NO. 9: Stericycle admits that the statements in paragraph 9 have, at times,

appeared in Stericycle’s public disclosure statements.

        10.         Stericycle generates its nearly $3 Billion in revenue by programming its internal

billing and accounting software to automatically charge an 18% annual price increase in the flat

rates it charges its customers. In 2015, Stericycle had $2.99 Billion in revenue and GAAP gross

profit of $1.27 billion. At all times material to this complaint, Stericycle operated a medical

waste removal service in Alabama for the Plaintiffs and others.




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        ANSWER TO NO. 10: Stericycle admits that in 2015 it had $2.99 billion in revenue and

GAAP gross profit of $1.27 billion from all product sales and services worldwide. Stericycle also

admits that it provided medical waste removal services in Alabama and for Plaintiffs. Stericycle

denies the remaining allegations and characterizations in paragraph 10.

                                    JURISDICTION AND VENUE

        11.         This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A)

because the Plaintiffs and members of the putative class are citizens of a state different from the

state of the Defendants and this case is a class action in which the aggregate claims of all

members of the putative class exceed $5,000,000.00, exclusive of interest and costs.

        ANSWER TO NO. 11: Stericycle admits the allegations in paragraph 11.

        4 [SIC].           Pursuant to 28 U.S.C. § 1391, this judicial district is the proper venue for

this action because a substantial part of the events, omissions, and acts giving rise to the claims

herein occurred in this district. Plaintiffs are citizens of this district and entered into contracts

with Stericycle in this district. This Court has personal jurisdiction over the Defendants because

Defendants have sufficient minimum contacts with Alabama. Defendants avails themselves of

the privilege of conducting business in Alabama through medical waste removal and

transportation services sufficient to render the exercise of personal jurisdiction by this Court

consistent with traditional notions of fair play and substantial justice.

        ANSWER TO NO. 4 [SIC]: Stericycle avers that venue is appropriate in the Northern

District of Illinois, to which this case was recently transferred for inclusion in the In re

Stericycle, Inc., Steri-Safe Contract Litigation, MDL No. 2455, consolidated proceedings.

Stericycle denies the remaining allegations in paragraph 4 [SIC].




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                                                FACTS

        A.          Stericvcle

        12.         Stericycle has been in the medical waste business since 1989. As Stericycle

explains on its website, medical waste includes “any solid waste that is generated in the

diagnosis, treatment, or immunization of human beings or animals.” It includes but is not limited

to items that are freely dripping liquid or semi-liquid blood or “potentially infectious materials”

or could readily release infectious materials if compressed, items containing dried blood or

“potentially infectious materials” that could release flakes if compressed or otherwise handled,

human blood and blood products, hemodialysis waste of all items that were in contact with a

patient’s blood (tubing, filters, towels, gloves, aprons, lab coats) and any other contaminated

disposable equipment, human or animal isolation wastes, sharps waste, surgery or autopsy tissue,

organs, or body parts, surgical and autopsy wastes, cultures or stocks of any virus, bacterium or

other organism including discarded live attenuated vaccines and the items used to transfer,

inoculate or mix cultures, tissues, organs, body parts, bedding, carcasses, and body fluids from

experimental animals, teeth in dentistry, laboratory wastes that have been in contact with

infectious wastes, discarded medical equipment and its components that have been in contact

with infectious agents, any other discarded item or waste that an administrator believes poses a

threat to human health or the environment, potentially infectious body fluids. Stericycle’s waste-

related services include waste pickup and disposal.

        ANSWER TO NO. 12: Stericycle admits the allegations in paragraph 12.

        13.         Stericycle serves more than 566,000 customers worldwide (as of 2013). It divides

its customers into two categories: large-quantity and small-quantity waste generators. Large-

quantity waste generators include hospitals, blood banks, and pharmaceutical manufacturers.

Small-quantity waste generators are small businesses like the Plaintiffs’ medical practices,


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outpatient medical clinics, medical and dental offices, long-term and subacute care facilities,

veterinary offices, and retail pharmacies. As of 2015, approximately 63% of Stericycle’s

customers were small-quantity or “SQ” customers.

        ANSWER TO NO. 13: Stericycle admits the allegations in paragraph 13.

        14.         When Stericycle acquires a new small-quantity customer, it offers the customer a

standard form Steri-Safe Contract. It provides for monthly or quarterly waste pick-ups. The

Plaintiffs and putative class members signed the Steri-Safe Contract.

        ANSWER TO NO. 14:               Stericycle admits that at times it offers customers certain

agreements called Steri-Safe agreements. Stericycle admits that Plaintiffs signed a form of the

Steri-Safe agreement. Stericycle avers that an agreement’s terms vary according to the individual

customer. Stericycle denies the remaining allegations in paragraph 14.

        15.         The term of the Steri-Safe Contract is typically 36 to 60 months from the effective

date. To prevent automatic renewal, the customer must give 60 days’ written notice of intent to

terminate the agreement, and the notice must be made during the six-month period prior to the

renewal date.

        ANSWER TO NO. 15: Stericycle admits that certain of its contacts contain automatic

renewal terms. Stericycle denies the remaining allegations in paragraph 15 and avers that the

provisions of the agreements, including the lengths of extension terms and the notice periods,

vary by individual customer and contract.

        16.         If a customer terminates the Steri-Safe Contract prior to expiration of the term,

Stericycle has the right to recover from the customer liquidated damages in an amount equal to

50% of the customer’s average monthly charge multiplied by the number of months remaining

on the term.




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        ANSWER TO NO. 16: Stericycle admits that certain of its contracts contain liquidated

damages provisions. Stericycle denies the remaining allegations in paragraph 16 and avers that

the provisions of the agreements, including the specifics of the liquidated damages provisions,

vary by individual customer and contract.

        17.         Customers typically pay Stericycle a flat fee on a monthly or quarterly basis. The

flat fee is listed on the cover page of the Steri-Safe Contract.

        ANSWER TO NO. 17: Stericycle admits that its contracts state the amounts Stericycle

will charge its customers. Stericycle denies the remaining allegations in paragraph 17 and avers

that the provisions of the agreements, including charges and fees, vary by individual customer

and contract.

        18.         Stericycle may increase the monthly or quarterly flat fee only under limited

conditions during the term of the contract:

        Stericycle reserves the right to adjust the contract price to account for operational
        changes it implements to comply with documented changes in law, to cover
        increases in the cost of fuel, insurance, residue disposal, or to otherwise address
        cost escalation.

        ANSWER TO NO. 18:               Stericycle admits that certain of its contracts contain the

language quoted in paragraph 18. Stericycle denies the remaining allegations in paragraph 18 and

avers that the provisions of the agreements vary by individual customer and contract.

        19.         Despite these limitations under which Stericycle may increase its fees, Stericycle

has engaged in a systematic and deliberate practice of raising its fees based on an automated

price increase (“API”) of 18% during a calendar year on Steri-Safe Contract customers. These

predetermined price increases were unconscionable, deceptive, fraudulent, improper, and just

plain wrong because they bear no relationship to Stericycle’s “operational changes,”

“documented changes in the law,” or “cost escalation.”



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        ANSWER TO NO. 19: Stericycle denies the allegations in paragraph 19.

        20.         Stericycle’s Vice President of Sales Operations explained automated price

increases:

        Q.          . . . what’s your understanding of the term “automated price increase”?

        A.     Automated price increase is a system-generated price increase that’s
        applied to the customer’s pricing.

        Q.      And for small quantity customers who have not — whose contract does
        not specifically state what their future pricing is going to be, unless that customer
        is for some reason exempted from the automated price increase process, those
        price increases are imposed on the customer by a function of Stericycle’s billing
        system; is that right?

        A.          Yes.

Deposition of James Edward Buckman, pp. 30-31. He continued:

        Q.    During your time at Stericycle it’s been true, hasn’t it, that the standard
        automated price increase percentage for small quantity customers was 18 percent?

        A.          Yes.

Id. at 32.

        ANSWER TO NO. 20: Stericycle admits that paragraph 20 contains selected excerpts

from a recent deposition of James Buckman. Stericycle denies the remaining allegations in

paragraph 20.

        21.         Stericycle uses (or has used) an electronic financial accounting and reporting

system named “Tower.” The automated price increase process is built into the Tower system, but

the intervals in which Stericycle imposed API varied. Stericycle modulated the timing of the API

in order to meet revenue targets -- there was no connection to actual cost increases that might

justify a price increase. Automated Price Increases are a major revenue source for Stericycle.

        ANSWER TO NO. 21: Stericycle admits that it has used certain electronic financial

accounting and reporting systems, including one named “Tower.” Stericycle admits that certain


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customers have agreed to and have been charged APIs. Stericycle denies the remaining

allegations in paragraph 21.

        22.         Stericycle’s costs fluctuate and do not uniformly increase from year- to-year, but

Stericycle does not modify the API to reflect these fluctuations. Stericycle does not internally

correlate the API to its own costs. Stericycle’s costs do not increase 18% every nine or twelve

months.

        ANSWER TO NO. 22: Stericycle admits that its costs fluctuate. Stericycle denies the

remaining allegations in paragraph 22.

        23.         In fact, in a deposition, Mr. Buckman (Stericycle’s Vice President of Sales

Operations) conceded that automated price increases are done to make sure that Stericycle hit

revenue numbers it had predicted, not based on cost figures:

        Q.     And what about, have you ever heard mention of needing to increase
        revenue in order to meet the revenue forecasts that Stericycle gives to the
        investment community?

        A.          I would say that’s part of our internal goal. That’s related to our internal
        goal.

        Q.     ...you’re concerned more with meeting revenue targets rather than being
        concerned about the cost of providing services or products to Stericycle’s
        customers; isn’t that right?

        A.          That is the primary focus of the sales and marketing organization.

        Q.      So, you are given a revenue goal and you figure out how to meet that goal,
        but in making decisions in order how to do that, you don’t specifically consider
        Stericycle’s cost of, you know, how much it cost to provide services to any
        specific customer or type of customer; isn’t that right?

        A.          I don’t understand the question.

        Q.      Well, I think you said it’s another part of Stericycle’s organization that
        keeps track of the cost of providing goods and services to customers, right?

        A.          Correct.



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        Q.     You are given a revenue target or a revenue goal that you are expected to
        meet along with your colleagues, and you come up with initiatives in ways that
        you think that you can meet that goal, correct?

        A.          Correct.

        Q.      But when you are making decisions about specific initiatives, such as
        changing the frequency of automated price increases, you don’t go back and look
        and say, hey, how much is -- you know, how much is it costing us to dispose of
        medical waste, how much are we paying for labor or any other specific cost
        factors when you are making those revenue decisions, do you?

        A.          Not specifically.

        Q.      You -- because from your point of view, whatever decisions there are
        about maintaining gross margins, those are made in setting the goal of revenue
        that you are expected to generate, right?

        A.          Right.

        Q.      So, when you are deciding whether to change the frequency of automated
        price increases, you don’t need to go back and look at those cost figures; all you
        need to do is make sure you hit your revenue numbers in order to make sure you
        keep your margins, right?

        A.          In my role, yes.

Deposition of James Edward Buckman, pp. 68-70.

        ANSWER TO NO. 23: Stericycle admits that paragraph 23 contains selected excerpts

from a recent deposition of James Buckman. Stericycle denies the remaining allegations in

paragraph 23.

        24.         The price increases that Stericycle imposed on small-quantity customers can be

determined from the electronic records contained in Stericycle’s financial reporting systems.

        ANSWER TO NO. 24: Stericycle denies the allegations in paragraph 24.

        25.         In addition to charging its customers API, Stericycle also increased its prices by

imposing fees and surcharges. These were called “Environmental / Regulatory Fees,” “Fuel

Surcharges,” “Energy Fees,” or “California SB 1807 Fees” (“Undisclosed Fees”). Stericycle

frequently hid these Undisclosed Fees by embedding them in the flat fee.

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         ANSWER TO NO. 25: Stericycle admits that certain of its customers were charged fees

for environmental/regulatory, energy, and fuel. Stericycle denies the remaining allegations in

paragraph 25.

         26.        The fees and surcharges were part of Stericycle’s plan to ensure it hit revenue

goals:

         Q.      ... fees and surcharges are one of the ways that Stericycle makes sure that
         any decreases or changes in its revenue don’t cause it to miss its targeted revenue
         goals, right?

         A.     As -- as part of the sales and marketing organization, I would say yes, that
         we have had fee increases in order to achieve revenue goals within the sales and
         marketing organization.

Buckman Dep., pp. 261-62.

         ANSWER TO NO. 26: Stericycle admits that paragraph 26 contains selected excerpts

from a recent deposition of James Buckman. Stericycle denies the remaining allegations in

paragraph 26.

         27.        Stericycle concealed the API algorithm. When Stericycle imposes API, it issues

an invoice to the customer for the new inflated flat fee without explanation. This makes it

difficult if not impossible for customers to discover that their fee increases were unjustified.

         ANSWER TO NO. 27: Stericycle denies the allegations in paragraph 27.

         28.        Since 2004, Stericycle has known that several governmental authorities consider

API to be an improper practice. These authorities include New York City, the State of New

Jersey, and the State of Washington. Based on their objections, Stericycle formulated a written

policy forbidding the use of API within those jurisdictions.

         ANSWER TO NO. 28: Stericycle denies the allegations in paragraph 28.

         29.        Stericycle executives were aware that the federal government objected to API. In

September of 2006, Stericycle’s Vice President, Patrick Cott, sent an email to his subordinates


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directing them to stop charging API to federal government customers. Nevertheless, Stericycle

continued to impose API on its small-quantity private sector customers.

        ANSWER TO NO. 29: Stericycle denies the allegations in paragraph 29.

        30.         Indeed, Stericycle’s actions were the subject of a large qui tam suit which has

only just completed. The suit was brought by relator Jennifer Perez, a government customer

relations specialist with Stericycle between 2004 and 2008. Ms. Perez discovered that Stericycle

was routinely imposing 18% price increases annually and even more often on customers with

long-term fixed rate contracts that prohibited price increases or allowed increases only to address

certain costs in servicing Stericycle’s customers. According to Ms. Perez, her supervisors

routinely admitted to her they were aware that Stericycle’s APIs were improper.

        ANSWER TO NO. 30: Stericycle admits that Jennifer Perez is a former Stericycle

employee. Stericycle further admits that Ms. Perez filed a complaint with the referenced

allegations. Stericycle denies the allegations in Ms. Perez’s complaint and denies the remaining

allegations in paragraph 30.

        31.         On April 28, 2008, Perez filed a qui tam complaint against Stericycle. She alleged

that Stericycle defrauded the United States, 14 states, and the District of Columbia by imposing

API in violation of its contracts. Ms. Perez further alleged, “Stericycle fails to inform its

customers that despite the contract price it has agreed to, Stericycle intends to and adds

unallowable surcharges to each bill, in addition to an undisclosed 18% across the board increase

every 9 months.”

        ANSWER TO NO. 31: Stericycle admits that Ms. Perez filed a complaint against

Stericycle with the referenced allegations. Stericycle denies the allegations in Ms. Perez’s

complaint and denies the remaining allegations in paragraph 31.




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        32.         On January 2, 2013, Stericycle settled the case initiated by Ms. Perez with the

Attorney General of New York. In the Settlement Agreement, Stericycle admitted that during the

period January 1, 2003, through September 30, 2012, it had presented invoices containing API

which was not authorized by the contracts.

        ANSWER TO NO. 32: Stericycle admits that it settled the case initiated by Perez with

the Attorney General of New York. Stericycle denies the remaining allegations in paragraph 32.

        33.         The $2.4 million Settlement Agreement between Stericycle and New York

provides that Stericycle will reimburse the state for 100% of the charges resulting from API. In

addition, Stericycle agreed to pay treble damages to New York as a result of the API. That

settlement did not provide any relief for the Plaintiffs and/or members of the putative class in

Alabama.

        ANSWER TO NO. 33: Stericycle denies the allegations in paragraph 33.

        34.         On February 1, 2016, United States District Court Judge William T. Hart granted

a motion by Ms. Perez for the consent of the court for voluntary stipulation of dismissal of the

qui tam action.

        ANSWER TO NO. 34: Stericycle admits the allegations in paragraph 34.

        35.         The Plaintiffs’ experiences with Stericycle mirror the wrongful practices

described in the qui tam action and are typical of the experiences of the members of the putative

class, as is evident from the Plaintiffs’ contracts with Stericycle which are attached as Exhibits 2-

5.

        ANSWER TO NO. 35: Stericycle denies the allegations in paragraph 35.




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        B.          Surgical Specialists

        36.         In November 2008, Surgical Specialists entered into a Steri-Safe Service

Agreement with Stericycle. The contract provided for a monthly service fee of $297.00 per

month, with additional charges for additional waste services. See Ex. 2.

        ANSWER TO NO. 36: Stericycle admits that Tuscaloosa Surgical Specialists entered

into a Steri-Safe Service Agreement with Stericycle in November 2008. Stericycle denies that the

contract attached as Exhibit 2 is the entire contract and denies the remaining allegations in

paragraph 36.

        37.         Surgical Specialists entered into a second agreement with Stericycle on July 9,

2014. See Ex. 3. This time the contract provided for a monthly service fee of $1,267.45 per

month plus additional charges.

        ANSWER TO NO. 37: Stericycle admits that Tuscaloosa Surgical Specialists entered

into a Steri-Safe Service Agreement with Stericycle on July 9, 2014. Stericycle denies that the

contract attached as Exhibit 3 is the entire contract and denies the remaining allegations in

paragraph 37.

        38.         On January 1, 2015, Surgical Specialists, entered into a Service Agreement for

Hazardous Drug Disposal Service. See Ex. 4. As is typical, Surgical Specialists’ contract allowed

for price increases only in limited circumstances:

        SSWSI reserves the right to adjust the contract price to account for operational
        charges it implements to comply with changes in law, to cover increases in the
        cost of fuel, insurance, or residue disposed, or to otherwise address cost
        escalation. SSWSI may charge Customer a fee to cover its administrative costs in
        the event that Customer changes its service requirements during the Term or
        Extension Term.

Ex. 4, ¶ 2.




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        ANSWER TO NO. 38: Stericycle admits that Tuscaloosa Surgical Specialists entered

into a Hazardous Drug Disposal Agreement with Stericycle on or about January 1, 2015, and that

this agreement contains the language quoted in paragraph 38. Stericycle denies that the contract

attached as Exhibit 4 is the entire contract. Stericycle denies the remaining allegations in

paragraph 38.

        39.         Nevertheless, throughout Surgical Specialists’ dealings with the Defendant,

Stericycle implemented improper and unlawful price increases and overcharges, including for

example prices increases from the original $297/month to $311.89/month in January 2009, an

increase to $443.06/month in April 2011, an increase to $541.66/month in January 2012, an

increase to $633.84/month in July 2012, an increase to $742.62/month in January 2013, an

increase to $919.48/month in October 2013, an increase to $l,154.68/month in March 2014, an

increase to $l,503.26/month in August 2014, an increase to $1,633.31/month in March 2015, and

an increase to $ 1,958.25/month in July 2015.

        ANSWER TO NO. 39: Stericycle admits that the service price increased at certain points

during the parties’ seven-year business relationship. Stericycle avers that these price increases

were expressly authorized by the parties’ various contracts. Stericycle denies all remaining

allegations contained in paragraph 39.

        40.         After having its bookkeeping department review amounts billed and paid to

Stericycle, Surgical Specialists contacted Stericycle to cancel its service given Stericycle’s

fraudulent overbilling and overcharging. In response, Stericycle attempted to charge a

cancellation fee of over $16,000.00 and refused to acknowledge and/or credit years of

overpayments. After Surgical Specialists rightly refused to pay such a fee, Stericycle turned the

matter over to a collection firm.




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        ANSWER TO NO. 40: Stericycle admits that Surgical Specialists sought to terminate the

agreement prior to its expiration, and as a result, Stericycle charged the contractually allowed fee

for early cancellation and attempted to collect this balance owed. Stericycle denies the remaining

allegations in paragraph 40.

        C.          Internal Medicine Associates

        41.         In 2000, Internal Medicine Associates began doing business with Stericycle after

Stericycle acquired a portion of Browning-Ferris Industries. Internal Medicine Associates

continued to do business with Stericycle for over a decade, but faced enormous unjustified price

increases throughout the time it did business with Stericycle.

        ANSWER TO NO. 41: Stericycle denies the allegations in paragraph 41.

        42.         Over the years, Internal Medicine Associates paid Stericycle escalating amounts

from $607.93 in 2000, $2,549.58 in 2001, $3,443.75 in 2004, $6,928.66 in 2007, and $14,660.23

in 2010.

        ANSWER TO NO. 42: In response to paragraph 42, Stericycle avers that Internal

Medicine Associates negotiated and executed multiple contracts during the parties’ relationship,

including changes to the frequency of service and the number of containers provided. Stericycle

denies the remaining allegations in paragraph 42.

        43.         As recently as August 29, 2014, Internal Medicine Associates entered into an

updated agreement with Stericycle. The contract provided for a monthly service fee of $2,675.00

per month, with additional charges for additional waste services. See Ex. 5.

        ANSWER TO NO. 43: Stericycle admits the allegations in paragraph 43.

        44.         As with Surgical Specialists, Internal Medicine Associates’ contract allowed for

price increases only in limited circumstances. See Ex. 5, ¶ 2.

        ANSWER TO NO. 44: Stericycle denies the allegations in paragraph 44.

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        45.         Stericycle, however, implemented improper and unlawful price increases and

overcharges, including for example prices increases from the 2014 contract $2,675/month to

$3,092.80/month in October 2014, an increase to $3,610.30 in March 2015, and an increase to

$4,360.19/month in September 2015. These are but examples.

        ANSWER TO NO. 45: Stericycle admits that the service price increased pursuant to the

parties’ contract. Stericycle denies the remaining allegations in paragraph 45.

        46.         After Internal Medicine Associates sent a notice of cancelation to Stericycle,

Stericycle sent it an invoice for $14,138.05, including $5,177.27 in new Steri-Safe charges and

$175.00 for “other.”

        ANSWER TO NO. 46: Stericycle admits that it sent an invoice for the open balance

upon learning that Internal Medicine Associates sought to terminate the parties’ contract early.

Stericycle denies the remaining allegations in paragraph 46.

                                        CAUSES OF ACTION

               COUNT I - ALABAMA DECEPTIVE TRADE PRACTICES ACT

        47.         Alabama’s Deceptive Trade Practices Act was created because “[t]he public

health, welfare and interest require a strong and effective consumer protection program to protect

the interest of both the consuming public and the legitimate businessperson.” ALA. CODE § 8-

19-2.

        ANSWER TO NO. 47: Paragraph 47 contains a legal conclusion to which no response is

required; to the extent a response is required, Stericycle denies the allegations in paragraph 47.

        48.         Under the ADTPA, it is unlawful for one to “[e]ngag[e] in any . . .

unconscionable, false, misleading, or deceptive act or practice in the conduct of trade or

commerce.” See ALA. CODE § 8-19-5.




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          ANSWER TO NO. 48: Paragraph 48 contains a legal conclusion to which no response is

required; to the extent a response is required, Stericycle denies the allegations in paragraph 48.

          49.       Through its acts described herein, including without limitation its use of API, its

sales representatives in marketing and selling its services, and various provisions in the Steri-

Safe Contract, Stericycle violated the ADTPA. Stericycle’s acts and omissions constitute

unconscionable, false, misleading, and deceptive acts and practices in the conduct of trade and/or

commerce.

          ANSWER TO NO. 49: Stericycle denies the allegations in paragraph 49.

          50.       As a result of its acts and omissions, Stericycle is liable to the Plaintiffs for actual

damages, treble damages, attorneys’ fees, costs, and any other relief the Court deems proper.

          ANSWER TO NO. 50: Stericycle denies the allegations in paragraph 50.

                                COUNT II - BREACH OF CONTRACT

          51.       Plaintiffs entered into valid binding contracts with Stericycle.

          ANSWER TO NO. 51: Stericycle admits the allegations in paragraph 51.

          52.       Plaintiffs performed under the contracts.

          ANSWER TO NO. 52: Stericycle denies the allegations in paragraph 52.

          53.       Through its acts and omissions described in this Complaint, Stericycle breached

its contracts with the Plaintiffs.

          ANSWER TO NO. 53: Stericycle denies the allegations in paragraph 53.

          54.       As a result of Stericycle’s acts and omissions, Stericycle damaged the Plaintiffs

and is liable to the Plaintiffs for actual damages, costs, and any other relief the Court deems

proper.

          ANSWER TO NO. 54: Stericycle denies the allegations in paragraph 54.




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          COUNT III - UNJUST ENRICHMENT/MONEY HAD AND RECEIVED

         55.        Plaintiffs conferred a benefit on Stericycle by hiring and paying Stericycle for

waste-related services.

         ANSWER TO NO. 55: Stericycle denies the allegations in paragraph 55.

         56.        By its actions described in the Complaint, Stericycle has been unjustly enriched at

the Plaintiffs’ expense and has retained money that should be returned to the Plaintiffs and the

other members of the putative class.

         ANSWER TO NO. 56: Stericycle denies the allegations in paragraph 56.

                            CLASS REPRESENTATION ALLEGATIONS

         57.        Plaintiffs bring this action pursuant to Rule 23(a), 23(b)(2) and 23(b)(3) of the

Federal Rules of Civil Procedure on behalf of themselves and the members of the following

Class:

         All persons and entities in Alabama who paid a flat fee for medical waste disposal
         services to Stericycle pursuant to a Steri-Safe Contract and whose flat fee was
         increased by an automated price increase policy and/or Stericycle’s Undisclosed
         Fees.

         ANSWER TO NO. 57: Stericycle admits that Plaintiffs purport to bring this case as a

class action on behalf of themselves and members of a purported class. Stericycle denies that

such action is appropriate or that the class described in paragraph 57 should be certified.

         58.        The proposed Class excludes governmental entities, Stericycle, Stericycle’s

affiliates, parents, subsidiaries, employees, officers, directors, and co-conspirators. It also

excludes any judicial officer presiding over this matter aid the members of their immediate

families and judicial staff.

         ANSWER TO NO. 58: Stericycle admits that Plaintiffs purport to bring this case as a

class action on behalf of themselves and members of a purported class, excluding those



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described in paragraph 58. Stericycle denies that such action is appropriate or that the class

described in paragraph 58 should be certified.

        59.         The definition of the Class is unambiguous. Plaintiffs are members of the Class

they seek to represent. Members of the Class can be identified using records maintained by

Stericycle. The members of the class can be notified of the class action through publication and

direct mailings to address lists maintained by Stericycle.

        ANSWER TO NO. 59: Stericycle denies the allegations in paragraph 59.

        60.         Pursuant to Rule 23(a)(1), class members are so numerous that their individual

joinder is impracticable. Stericycle has innumerable small-quantity waste disposal customers in

Alabama, and a majority of these customers are class members. The precise number of class

members is unknown to the Plaintiffs, but that number greatly exceeds the number at which

joinder would be practicable.

        ANSWER TO NO. 60: Stericycle denies the allegations in paragraph 60.

        61.         Pursuant to Rule 23(a)(2) and (b)(3), questions of feet and law are common to the

class except for the amount of damages each member of the class sustained. Common questions

of law and fact predominate over the questions affecting only individual class, members. Some

of the common legal and factual questions include the following:

        (a)   Whether Stericycle used standard form contracts with its small-quantity
        customers that charged a flat fee for regulated medical waste disposal;

        (b)    Whether Stericycle imposed automated price increases on small-quantity
        waste disposal customers who entered into fee-based medical waste disposal
        contracts with Stericycle;

        (c)    Whether Stericycle’s Steri-Safe Contracts with its small-quantity medical
        waste disposal customers provided that Stericycle could adjust the contract price
        only to account for operational changes it implemented to comply with
        documented changes in law, to cover increases in the cost of fuel, insurance,
        residue disposal, or to otherwise address cost escalation;



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        (d)     Whether Stericycle’s automated price increases were authorized by its
        Steri-Safe Contracts;

        (e)    Whether Stericycle calculated its automated price increases using amounts
        of the costs it incurred, whether for changes in law, fuel, insurance, residue
        disposal, or other costs;

        (f)     Whether Stericycle programmed the Tower financial accounting and
        reporting system to apply a periodic 18% price increase automatically to small-
        quantity medical waste disposal customer accounts;

        (g)     Whether Stericycle maintained the Tower financial accounting and
        reporting system to track automated price increases imposed on small- quantity
        waste disposal customers;

        (h)    Whether Stericycle instructed employees in its office responsible for
        responding to customer complaints to give customers pre-textual reasons to justify
        automated price increases;

        (i)    Whether Stericycle disclosed its policy of imposing automated price
        increases on its small-quantity medical waste disposal customers;

        (j)  Whether Stericycle breached its contract with the Plaintiffs aid class
        members;

        (k)     Whether Stericycle’s conduct violated the Alabama Deceptive Trade
        Practices Act;

        (1)   Whether Stericycle was unjustly enriched by its practice of charging
        automated price increases;

        (m)    The nature and extent of damages aid remedies for the Plaintiffs aid the
        class members; and

        (n)     Whether Stericycle’s breach of contract discharges the Plaintiffs and
        members of the class from paying liquidated damages for early termination of the
        Steri-Safe Contract.

        ANSWER TO NO. 61: Stericycle denies the allegations in paragraph 61.

        62.         The claims of the Plaintiffs are typical of the claims of the Class because the

Plaintiffs entered into the Steri-Safe Contract and were charged the API and Undisclosed Fees.

        ANSWER TO NO. 62: Stericycle denies the allegations in paragraph 62.




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        63.         Plaintiffs are adequate representatives of the Class because their interests do not

conflict with the interests of the class members they seek to represent. Plaintiffs have retained

competent counsel experienced in class actions, and they intend to prosecute this action

vigorously. The interests of class members will be fairly and adequately protected by Plaintiffs

and their counsel.

        ANSWER TO NO. 63: Stericycle denies the allegations in paragraph 63.

        64.         The class mechanism is superior to other available means for the fair and efficient

adjudication of the claims of class members. Each class member may lack the resources to

undergo the burden and expense of individual prosecution of the complex and extensive

litigation necessary to establish Stericycle’s liability. Individualized litigation increases the delay

and expense to all parties and multiplies the burden on the judicial system presented by the issues

of this case. Individualized litigation also presents a potential for inconsistent or contradictory

judgments.

        ANSWER TO NO. 64: Stericycle denies the allegations in paragraph 64.

        65.         The class action device presents far fewer management difficulties and provides

the benefits of single adjudication, economy of scale, and comprehensive supervision by a single

court on the issue of Stericycle’s liability to the Alabama Class members. Class treatment will

ensure that all claims aid claimants are before this Court for consistent adjudication of the

liability issues.

        ANSWER TO NO. 65: Stericycle denies the allegations in paragraph 65.

                                        PRAYER FOR RELIEF

        Stericycle denies that Plaintiffs or the purported class are entitled to any of the relief set

forth in the Prayer for Relief.




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                                  AFFIRMATIVE DEFENSES

                               FIRST AFFIRMATIVE DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, because the allegations supporting

certain of the Causes of Action asserted in the Complaint fail to state a claim upon which relief

may be granted as required by Federal Rule of Civil Procedure 12(b). For example, Count I fails

to state a claim because Plaintiffs’ allegations are grounded in fraud and Plaintiffs have failed to

plead fraud with the particularity required by Federal Rule of Civil Procedure 9(b).

                             SECOND AFFIRMATIVE DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by the applicable statutes of limitation.

Specifically, with respect to Count II, Plaintiffs entered into contracts with Stericycle and

Stericycle allegedly breached its contracts with them by imposing allegedly improper price

increases prior to the applicable six-year statute of limitations (Ala. Code § 6-2-34). With respect

to Count I, the cause of action accrued prior to the applicable statutes of limitation of no more

than four years, and there is no basis for tolling of those statutes of limitation. See, e.g., Ala.

Code § 8-19-14.

                               THIRD AFFIRMATIVE DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, to the extent any of their causes of action

are brought in a forum and/or pursuant to a state law that violates the forum-selection clause

and/or choice of law provision contained in the applicable contract between Plaintiffs and

Stericycle.

                             FOURTH AFFIRMATIVE DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by the doctrine of accord and

satisfaction because Plaintiffs submitted payments to Stericycle at various times pursuant to a

shared intent to settle a bona fide dispute over an unliquidated amount owed to Stericycle


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pursuant to allegedly improper price increases and/or surcharges, and Stericycle accepted those

payments as full satisfaction of Plaintiffs’ contractual obligations.

                               FIFTH AFFIRMATIVE DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, because a cause of action under the

Alabama Deceptive Trade Practices Act cannot be maintained as a class action.

                              SIXTH AFFIRMATIVE DEFENSE

        The claims of Plaintiffs and/or members of the proposed class in Count I are barred, in

whole or in part, because Plaintiffs failed to give Stericycle notice of Plaintiffs’ claims and an

opportunity to cure as required by the Alabama consumer fraud statute.

                            SEVENTH AFFIRMATIVE DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, because a novation occurred when

Plaintiffs at various times entered into a new and valid contract with Stericycle by mutual

agreement that contained new pricing terms, and that extinguished their prior contract with

Stericycle and any prior debt obligations owed to Stericycle thereunder.

                             EIGHTH AFFIRMATIVE DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by the doctrine of estoppel because, at

various times, they intentionally paid outstanding invoices owed to Stericycle knowing that they

contained allegedly improper price increases and/or surcharges, Stericycle reasonably relied

upon those payments as evidence of Plaintiffs’ consent to the price increases and/or surcharges

and, as a result, Stericycle relied to its detriment and continued to provide services to Plaintiffs

and incur the costs associated with those services pursuant to their contracts.

                              NINTH AFFIRMATIVE DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, because at various times each of them

intentionally and knowingly waived their right to contest the allegedly improper price increases


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and/or surcharges either when they contacted Stericycle to discuss the allegedly improper price

increases and/or surcharges and thereafter agreed to the existing or new price terms in their

contracts, or when they continued to pay their invoices to Stericycle and demand that Stericycle

continue to provide services to them pursuant to the contract without disputing the allegedly

improper price increases and/or surcharges.

                              TENTH AFFIRMATIVE DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by the doctrine of laches because at

various times each of them received invoices from Stericycle knowing that they contained

allegedly improper price increases and/or surcharges and they engaged in undue delay and an

unreasonable lack of diligence by failing to take any action to dispute the allegedly improper

price increases and/or surcharges and, instead, continued to pay their invoices and acquiesce in

the new prices for a significant period of time, which prejudiced Stericycle by leading Stericycle

to continue to provide services to Plaintiffs and incur the costs associated with those services

with the expectation that Plaintiffs would continue to pay the invoiced price for those services

pursuant to their contracts with Stericycle.

                           ELEVENTH AFFIRMATIVE DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, because Stericycle provided services for

the benefit of Plaintiffs pursuant to their contracts, and, to the extent Stericycle’s invoices

contained allegedly improper price increases and surcharges, Plaintiffs ratified Stericycle’s

services and pricing by either expressly ratifying Stericycle’s conduct or implicitly acquiescing

in and failing to repudiate Stericycle’s conduct.

                            TWELFTH AFFIRMATIVE DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by the voluntary payment doctrine

because, at various times, Plaintiffs received invoices demanding payment of amounts due to


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Stericycle for its services that included allegedly improper price increases and/or surcharges, and

Plaintiffs voluntarily paid those invoiced amounts due to Stericycle under Stericycle’s claim of

right to payment for the services it provided with full knowledge of the facts surrounding the

claim of right to payment and without compulsion or duress.

                          THIRTEENTH AFFIRMATIVE DEFENSE

        Certain of the Plaintiffs’ claims are barred, in whole or in part, because they previously

entered into a valid agreement with Stericycle whereby they intentionally and knowingly

released Stericycle from liability for any claimed damages due to allegedly improper fees or

price increases.

                          FOURTEENTH AFFIRMATIVE DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs failed to mitigate their

own damages when they voluntarily paid Stericycle for invoiced amounts due that included

allegedly improper price increases and/or surcharges without (i) attempting to have the charges

reduced by contacting Stericycle to dispute or negotiate the allegedly improper price increases

and/or surcharges, (ii) without attempting to terminate their contract with Stericycle to avoid the

allegedly improper charges, and/or (iii) without attempting to obtain substitute arrangements for

services from someone other than Stericycle.

                           FIFTEENTH AFFIRMATIVE DEFENSE

        Plaintiffs’ claims are barred to the extent the contract between any Plaintiff and

Stericycle contains a provision requiring all disputes between the parties be submitted to

arbitration.




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                           SIXTEENTH AFFIRMATIVE DEFENSE

        The claims of certain members of the proposed class under Count II are barred, in whole or in

part, because those members of the proposed class do not have contracts with Stericycle and thus

Stericycle could not have breached any contractual term.

                         SEVENTEENTH AFFIRMATIVE DEFENSE

        The claims of Plaintiffs and/or the members of the proposed class are barred, in whole or in

part, because Plaintiffs and/or the members of the proposed class cannot meet their burden of proving

that any acts, conduct, statements or omissions on the part of Stericycle misled them or were likely to

mislead them, as the amount that Plaintiffs and the members of the proposed class were being billed

was clearly stated on each invoice.

                          EIGHTEENTH AFFIRMATIVE DEFENSE

        Stericycle is informed and believes, and on that basis alleges, that the claim for damages

and/or other monetary recovery by Plaintiffs and/or members of the proposed class must be offset

and reduced by any considerations or other discounts that they received from Stericycle.

                          NINETEENTH AFFIRMATIVE DEFENSE

        Plaintiffs’ action is not properly maintained as a class action because the requirements under

federal law for class certification have not been met and because certification of the proposed class

would result in a denial of due process to Stericycle as well as to members of the proposed class. By

way of example, Plaintiffs are not adequate class representatives or typical of the proposed class to

the extent that Plaintiffs would be subject to unique defenses vis-à-vis some or all of the claims they

have asserted. In addition, common questions of law and fact do not predominate over individual

questions, including but not limited to, questions regarding the terms of the individual contracts with

the members of the proposed class, whether those terms were breached by Stericycle and/or whether




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any member of the proposed class paid invoices including the allegedly improper charges, thus

subjecting them to a voluntary payment/waiver defense.

                          TWENTIETH AFFIRMATIVE DEFENSE

        Stericycle is presently without knowledge or information sufficient to form a belief as to

whether it has additional, yet unasserted, affirmative defenses. Stericycle therefore reserves the

right to assert additional affirmative defenses if it acquires knowledge or information supporting

such defenses.

                                    PRAYER FOR RELIEF

        WHEREFORE, Stericycle prays that Plaintiffs’ Complaint and each and every cause of

action alleged therein be dismissed with prejudice, that it be awarded its costs and attorneys’ fees

incurred herein and the Court award such other and further relief as it deems just in the premises.


                                              Respectfully submitted this 14th day of April, 2016,


                                             /s/ Raymond J. Etcheverry
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                                              INC.




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